                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI


VAZQUEZ COMMERCIAL                          )
CONTRACTING, LLC                            )
                                            )
               Plaintiff                    )
                                            )
vs.                                         ) Case No. 20-cv-0486-DGK
                                            )
ZIESON CONSTRUCTION                         )
COMPANY, LLC; SIMCON CORP.;                 )
ONSITE CONSTRUCTION GROUP,                  )
LLC; TORGESON ELECTRIC                      )
COMPANY, INC.; MCPHERSON                    )
CONTRACTORS, LLC; MLT                       )
INVESTMENTS, LLC; METS, LLC;                )
HAAVIG & ASSOCIATES, L.L.C.;                )
ZURICH AMERICAN INSURANCE                   )
COMPANY; CHPB Sub 1, LLC F/K/A              )
TRUSS, LLC; MATTHEW                         )
TORGESON; MICHAEL PATRICK                   )
DINGLE; MATTHEW MCPHERSON;                  )
STEPHON ZIEGLER; RUSTIN                     )
SIMON; JACOB BAUCOM; MONICA                 )
HAAVIG.                                     )
                                            )
               Defendants.


            DEFENDANT ZURICH AMERICAN INSURANCE COMPANY’S
                MOTION TO DISMISS PETITION FOR DAMAGES

                             *ORAL ARGUMENT REQUESTED*

       Pursuant to Federal Rules of Civil Procedure 8(a), 9(b), and 12(b)(6), Defendant Zurich

American Insurance Company (“Zurich”) hereby moves to dismiss all claims against Zurich,

with prejudice. Plaintiff’s Petition for Damages alleges five claims against Zurich: (1) violation

of the federal Racketeer Influenced and Corrupt Organizations Act (“RICO”) § 1962(c) (Count

I), (2) negligence (Count IV), (3) negligent misrepresentation (Count VI), (4) tortious


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interference (Count VIII), and (5) civil conspiracy (Count IX). As explained in Zurich’s

Suggestions in Support of this Motion to Dismiss, each of these claims fail as a matter of law to

state any plausible claim for relief.

       Zurich respectfully requests oral argument in order to address any questions the Court

may have regarding its entitlement to the requested relief.



Dated: August 14, 2020                        Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 14, 2020, a copy of the foregoing
Motion to Dismiss was electronically filed with the Court using the Court’s ECF system and
copies were sent to all attorneys of record as follows:

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